 Case 1:19-dm-00012-AJT Document 19 Filed 06/13/19 Page 1 of 4 PageID# 1085


                                                                                  PiLED
                  IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                                                                     13 A          51
                                     Alexandria Division


                                                UNDER SEAL
IN RE:                                         (Pursuant to Local Criminal Rule 49 and
                                               Fed. R. Crim. P. 6(e))
GRAND JURY CASE NO. lO-GJ-3793
                                                Case No. 1:19-DM-12


                                               GRAND JURY NO. 19-3




                            UNOPPOSED MOTION TO UNSEAL


       The United States,through undersigned counsel, hereby moves to unseal specific filings in

the above-captioned case. Specifically, the government requests that the following documents be

unsealed:


            Dkt. No. 1 - Government's Application for Compulsion Order
            Dkt. No.2- Order Granting Application for Compulsion Order
            Dkt. No.4-1 -Exhibit A-Part 1 to Government's Bench Memorandum
            Dkt. No.4-2-Exhibit A-Part 2 to Government's Bench Memorandum
            Dkt. No.4-7- Exhibit E to Government's Bench Memorandum
            Dkt. No.4-8 -Exhibit F to Government's Bench Memorandum
            Dkt. No.4-10- Exhibit H to Government's Bench Memorandum
            Dkt. No.4-11 -Exhibit I to Government's Bench Memorandum
            Dkt. No.4-12- Exhibit J to Government's Bench Memorandum
            Dkt. No.4-13 - Exhibit K to Government's Bench Memorandum
            Dkt. No.4-14- Exhibit L to Government's Bench Memorandum
            Dkt. No.4-15 -Exhibit M to Government's Bench Memorandum
            Dkt. No.4-17- Exhibit O to Government's Bench Memorandum
            Dkt. No.5- Government's Response in Opposition to Chelsea Manning's Motions
            Dkt. No.5-2-Exhibit 2 to Government's Response in Opposition to Chelsea
            Manning's Motions
            Dkt. No.7- Chelsea Manning's Motion to Quash
            Dkt. No.8- Minute Entry
            Dkt. No. 8-1 -Documents Received in Open Court
 Case 1:19-dm-00012-AJT Document 19 Filed 06/13/19 Page 2 of 4 PageID# 1086




The government also requests that the Court unseal this motion and proposed order.

       The government requests that the following documents remain under seal because they

contain matters occurring before the grand jury and/or disclose information from materials filed

under seal in the Fourth Circuit(Case No. 19-1287) or in front of Judge Hilton(Case No. 1:19-

DM-3):

           Dkt. No.3- Government's Ex Parte Submission
           Dkt. No. 3-1 -Exhibit A to Government's Ex Parte Submission
           Dkt. No. 3-2-Exhibit B to Government's Ex Parte Submission
           Dkt. No.4- Government's Bench Memorandum
           Dkt. No.4-3 - Exhibit B to Government's Bench Memorandum
           Dkt. No.4-4 - Exhibit C to Government's Bench Memorandum
           Dkt. No.4-5 - Exhibit D-Part 1 to Government's Bench Memorandum
           Dkt. No.4-6 - Exhibit D-Part 2 to Government's Bench Memorandum
           Dkt. No.4-9 - Exhibit G to Government's Bench Memorandum
           Dkt. No.4-16 - Exhibit N to Government's Bench Memorandum
           Dkt. No. 5-1 -Exhibit 1 to Government's Response in Opposition to Chelsea
           Manning's Motions
       •   Dkt. No. 10- Government's Ex Parte Memorandum

The government will file a redacted version ofthe Government's Bench Memorandum (Dkt. No.

4)with the Clerk's Office for public docketing.

       Ms. Manning has requested, through counsel, that Dkt. No.6(Chelsea Manning's Motion

for Disclosure ofElectronic Evidence)remain under seal because it contains a declaration with

personal information that should not be in the public domain. The government does not oppose

Ms. Manning's request. Ms. Manning's attorneys have informed the government that they will

file a version ofthe pleading that does not contain the declaration with the Clerk's Office for

public docketing.

       The government has conferred with counsel for Ms. Manning, who stated that they do not

oppose this motion.
 Case 1:19-dm-00012-AJT Document 19 Filed 06/13/19 Page 3 of 4 PageID# 1087




        For the foregoing reasons, the government requests that the Court enter the attached

order granting this Motion to Unseal.



                                            Respectfully submitted,

                                            G. Zachary Terwilliger
                                            United States Attorney


                                     By:
                                           'SomaswTmDd^
                                            Assistant United States Attomey
                                            United States Attomey's Office
                                            2100 Jamieson Avenue
                                            Alexandria, VA 22314
                                            Telephone(703)299-3700
                                            Facsimile(703)299-3980
                                            Thomas.traxler@usdoj.gov
 Case 1:19-dm-00012-AJT Document 19 Filed 06/13/19 Page 4 of 4 PageID# 1088




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of June,2019,1 caused the foregoing document to be

sent to the following via electronic mail:

       Moira Meltzer-Cohen
       Attorney at Law
       Mo_at_Law@protonmaiLcom

       Christopher Leibig
       Attorney at Law
       Chris@chrisleibiglaw.com




                                                   Thomas W.Traxler
                                                   Assistant United States Attorney
